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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                         )
                                                  )
                         Plaintiff,               )
                                                  )                  8:06CR411
                vs.                               )
                                                  )                     ORDER
MARK ANTHONY HUDSON,                              )
                                                  )
                         Defendant.               )

        Defendant Mark Anthony Hudson (Hudson) appeared before the court on November 6, 2013, on
the Petition for Warrant or Summons for Offender Under Supervision (Petition) (Filing No. 150). Hudson
was represented by First Assistant Federal Public Defender Shannon P. O’Connor and the United States
was represented by Assistant U.S. Attorney Meredith B. Tyrakoski. Through his counsel, Hudson waived
his right to a probable cause hearing on the Petition pursuant to Fed. R. Crim. P. 32.1(a)(1). I find that
the Petition alleges probable cause and that Hudson should be held to answer for a final dispositional
hearing before Chief Judge Laurie Smith Camp.
        The government moved for detention. Through counsel, Hudson declined to present any
evidence or request a hearing on the issue of detention. Since it is Hudson’s burden under 18 U.S.C. §
3143 to establish by clear and convincing evidence that he is neither a flight risk nor a danger to the
community, the court finds Hudson has failed to carry his burden and that Hudson should be detained
pending a dispositional hearing before Chief Judge Smith Camp.
        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Chief Judge Laurie Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska, at 10:30 a.m. on December 19, 2013. Defendant must be present in person.
        2.      Defendant Mark Anthony Hudson is committed to the custody of the Attorney General or
his designated representative for confinement in a correctional facility;
        3.      Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 6th day of November, 2013.

                                                           BY THE COURT:

                                                           s/ Thomas D. Thalken
                                                           United States Magistrate Judge
